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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK


DEMOCRATIC NATIONAL COMMITTEE,                              )
                                                            )
                  Plaintiff,                                ) Civil Action No. 1:18-cv-03501-JGK
                                                            )
v.                                                          ) STATUS REPORT REGARDING
                                                            ) SERVICE OF PROCESS
THE RUSSIAN FEDERATION et al.,                              )
                                                            )
                  Defendants.                               )
                                                            )
                                                            )

                   STATUS REPORT REGARDING SERVICE OF PROCESS

         Plaintiff Democratic National Committee (“Plaintiff” or “the DNC”) submits this status

report to notify the Court of its progress in serving the Defendants, and to provide context for

two motions to serve Defendants located outside the United States, which Plaintiff will file

shortly.

         On April 20, 2018, Plaintiff filed the Complaint in this action. (ECF No. 1) That same

day, Plaintiff filed each Defendant’s summons for the Court’s seal and the Court promptly issued

the summons. (ECF Nos. 26-38, 40, 59) Immediately after filing the Complaint, Plaintiff began

efforts to serve each of the 15 Defendants named in this action: The Russian Federation

(“Russia”); the General Staff of the Armed Forces of the Russian Federation (“GRU”); the GRU

operative using the pseudonym “Guccifer 2.0” (“GRU Operative #1”)1; Aras Iskenerovich

Agalarov (“Aras Agalarov”); Emin Araz Agalarov (“Emin Agalarov”); Joseph Mifsud



1
  On July 13, 2018, the United States Department of Justice announced the indictments of twelve Russian GRU
officers for, among other things, their role in hacking into Plaintiff’s computer systems, stealing documents from
those computers, and staging releases of the stolen documents through the use of various personas, including the
persona “Guccifer 2.0.” In light of the additional information contained in the indictment, including the identity of
the group of individuals operating under the persona “Guccifer 2.0,” Plaintiff will likely amend its complaint.
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(“Mifsud”); WikiLeaks, Julian Assange (“Assange”); Donald J. Trump for President, Inc. (“the

Trump Campaign”); Donald J. Trump, Jr. (“Trump, Jr.”); Paul J. Manafort, Jr. (“Manafort”);

Roger J. Stone, Jr. (“Stone”); Jared C. Kushner (“Kushner”); George Papadopoulos

(“Papadopoulos”); and Richard W. Gates, III (“Gates”). Four defendants signed service waivers:

the Trump Campaign; Trump, Jr.; Stone; and Papadopoulos. (ECF Nos. 65, 85, 83, 92.)

Plaintiff’s efforts to serve the remaining defendants are summarized below.

I.       Domestic Defendants

         Plaintiff served the Complaint on all of the defendants located in the United States—the

Trump Campaign, Trump, Jr., Stone, Papadopoulos, Manafort, Gates, Emin Agalarov2, and

Kushner (collectively, the “Domestic Defendants”)—within 90 days of filing the Complaint, as

required by Federal Rule of Civil Procedure 4(m). As noted above, four of the Domestic

Defendants filed service waivers, and Plaintiff served the remaining four—Gates, Manafort,

Kushner, and Emin Agalarov (collectively, the “Non-Waiving Defendants”)—at their homes,

pursuant to a court order, or through counsel. The steps Plaintiff took to serve the Non-Waiving

Defendants are set out below.


         A.       Phone Calls to Counsel and Service Waivers

         Within 10 days of filing the Complaint, Plaintiff’s counsel called attorneys who

reportedly represented the Non-Waiving Defendants in other matters. (Declaration of Joseph M.

Sellers (“Sellers Decl.”) ¶ 3, attached as Exhibit A.) On April 30, 2018, Plaintiff’s counsel left

voicemail messages with Thomas Green, who reportedly represented Gates,3 Abbe Lowell, who


2
  Notwithstanding service on what qualifies as his residence, Mr. Agalarov informed Plaintiff’s counsel that he plans
to contest service. See infra § I(D).
3
  Manafort co-defendant Gates shows up in court with new lawyer, Reuters (Feb. 14, 2018, 1L41 PM),
https://www.reuters.com/article/us-usa-trump-russia-manafort/manafort-co-defendant-gates-shows-up-in-court-with-
new-lawyer-idUSKCN1FY2RT. See also criminal docket, Eastern District of Virginia, 1:18-cr-00083-TSE-2

                                                         2
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represented Kushner,4 and Kevin Downing, who reportedly represented Manafort,5 but those

messages were not returned. (Sellers Decl. ¶ 4.) That same day, Plaintiff’s counsel called Scott

Balber, who confirmed that he represents both Emin Agalarov and his father in other matters.

(Sellers Decl. ¶ 5.) Mr. Balber said that he was not authorized to accept service on behalf of the

Agalarovs. (Id.) When Plaintiff’s counsel asked if Mr. Balber could identify anyone else who

might be authorized to accept service for the Agalarovs, Mr. Balber instructed Plaintiff’s counsel

to consult “the Federal Rules.” (Id.)

         On May 2, 2018, Plaintiff’s counsel also mailed service waivers to addresses that had

been publicly linked to the Non-Waiving Defendants, pursuant to Federal Rule of Civil

Procedure 4(d).6 Plaintiff informed these defendants that they had thirty days to return the

waivers. When the Non-Waiving Defendants missed the deadline to return their forms, Plaintiff

began efforts to serve them. (Declaration of Julia Horwitz (“Horwitz Decl.”), ¶ 2, attached as

Exhibit B.)


         B.       Manafort

         From June 11, 2018 through July 9, 2018, Plaintiff attempted (on five separate occasions)

to serve Manafort at an address in Palm Beach Gardens, Florida because news reports suggested

that Manafort’s family resided there for at least part of the year. All attempts were unsuccessful.

(ECF No. 137.) In early July 2018, Plaintiff separately attempted (on three separate occasions)

to serve Manafort at an address in Alexandria, Virginia, again because news reports suggested


(listing Thomas Green’s law firm, Sidley Austin Brown & Wood LLP, as counsel of record in Gates’s criminal
case).
4
  Josh Dawsey, Kushner adds powerhouse lawyer Abbe Lowell to legal team, Politico (June 26, 2017, 6:04 PM),
https://www.politico.com/story/2017/06/26/jared-kushner-lowell-legal-team-239973.
5
  Josh Gerstein, Manafort may add new defense lawyer, Politico (Feb. 10, 2018, 11:14 PM),
https://www.politico.com/blogs/under-the-radar/2018/02/10/manafort-new-defense-lawyer-402846.
6
  Plaintiff also sent a service waiver to Aras Agalarov at an address in Florida. As will be explained further below,
however, Plaintiff now believes that Aras Agalarov lives abroad. See infra § II(B).

                                                          3
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that Manafort’s family resided there. (Id.) These attempts were also unsuccessful. (Id.) On

July 3, 2018, Plaintiff attempted service at an address in New York that had been publicly linked

to the Manafort family. The process server was informed by security that Manafort had not lived

there in over a year. (Id.) In addition to these attempts, Plaintiff’s process server asked the

United States Marshals Service whether it would be possible to serve Manafort while he is in

federal custody awaiting his criminal trial, and was informed that Manafort would not be made

available to accept service. (Id.)

        On July 16, 2018, Plaintiff moved for leave to serve Manafort by sending the service

packet via first class mail to the detention center where Manafort is currently awaiting trial; and

via first class mail and email to his criminal defense counsel. (ECF No. 137). On July 17, 2018,

the Court granted Plaintiff’s motion, and that same day, Plaintiff’s counsel emailed the service

packet7 to the attorneys of record listed on the docket sheet in Manafort’s criminal case. (Horwitz

Decl. ¶ 3.) On July 18, 2018, Plaintiff’s counsel mailed the service packet to those same

attorneys at the address listed on the docket sheet, and on July 19, 2018, Plaintiff’s counsel

mailed the service packet to Manafort at the Alexandria Detention Center. (Horwitz Decl. ¶ 4.)


        C.       Gates

        On June 15, 2018, Plaintiff’s process server handed a copy of the service packet to

Gates’s wife at an address in Richmond, Virginia. (ECF No. 117). Gates’s wife stated that she

lives with Gates at that address. (Id.)




7
 Each “service packet” discussed herein contained a summons, the Complaint, Electronic Case Filing Rules &
Instructions, and the Individual Practices of Judge John G. Koeltl as required by the Court.

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        D.       Emin Agalarov

        On June 13, 2018, Plaintiff attempted to serve Emin Agalarov at an address on Anderson

Avenue in New Jersey, which had been described as Emin Agalarov’s home in news stories.8

(Sellers Decl. ¶ 7.) As set forth in his sworn affidavit, Roger Padilla hand-delivered the service

packet to a woman at the New Jersey address who identified herself as Inga Madzule. (ECF No.

129). According to Mr. Padilla, Ms. Madzule represented that Emin Agalarov was not at home

because he was traveling, and that she could accept a delivery for him because she lived at that

address and looks after the children. (ECF No. 135). Mr. Padilla also stated under oath that he

and Ms. Madzule carried out their conversation in English, and that he asked her to confirm that

she understood him. (Id.) Plaintiff subsequently filed both of Mr. Padilla’s affidavits on the

docket. (ECF Nos. 129 and 135).

        On June 29, 2018, Mr. Balber, Emin Agalarov’s attorney, contacted Plaintiff’s counsel by

phone to say that Emin Agalarov contests the sufficiency of service at the New Jersey address.

(Sellers Decl. ¶ 8.) According to Mr. Balber, Emin Agalarov’s sister—rather than Emin

Agalarov himself—lives in the New Jersey house and Ms. Madzule is his sister’s housekeeper.

(Id.) Mr. Balber further claimed that Ms. Madzule does not speak English and therefore did not

qualify as a person of “suitable age and discretion,” capable of accepting service under Federal

Rule of Civil Procedure 4(e)(2)(B). (Id.) Mr. Balber acknowledged that Eris Agalarov was

aware of the complaint naming him as a defendant. (Id.)

        On July 10, 2018, Plaintiff sent Mr. Balber a letter explaining that service under the

Federal Rules was effectuated on June 13, 2018, when the process server delivered the package



8
  Jennifer Gould Keil, Billionaire linked to Trump email scandal selling his NJ mansion, New York Post (July 11,
201, 5:57 PM), https://nypost.com/2017/07/11/billionaire-linked-to-trump-email-scandal-selling-his-nj-mansion
(“Emin’s home, at 98 Anderson Avenue, has been on the market for $2.9 million for more than a year.”).

                                                        5
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to Ms. Madzule. (Sellers Decl. ¶ 9.) Mr. Balber responded to this letter by emailed letter the next

day, confirming that he represents Agalarov in connection with this case, but disagreeing with

Plaintiff’s analysis and stating, among other things, that Emin Agalarov could not be served in

New Jersey because he is a resident of Moscow. (Id.)

       On July 19, 2018, Plaintiff’s counsel personally spoke with the process server who

handed the service materials to Ms. Madzule and confirmed the account he provided in his

affidavit. (Horwitz Decl. ¶ 5.) The process server provided additional detail confirming his

account of service, including the fact that: (a) he twice said Emin Agalarov’s full name, so he is

confident that Ms. Madzule did not think the package was intended for his sister; and (b) he is

confident that Ms. Madzule spoke English because she answered his open-ended questions in full

sentences such as: “He’s traveling,” “He’s in Russia right now,” and “I don’t know when he’s

coming back.” (Id.) Based on the facts available to the Plaintiff and the applicable authority, the

evidence shows that Emin Agalarov was properly served. Moreover, as a courtesy to Agalarov,

Plaintiff transmitted copies of service materials to Mr. Balber by email and placed those

materials, addressed to Mr. Balber, in the first class mail, postage prepaid on July 19, 2018.

(Horwitz Decl. ¶ 6.)


       E.      Jared Kushner

       Because Kushner’s home in Washington, D.C. is protected by a contingent of United

States Secret Service agents, Plaintiff first requested that the process server attempt to serve

Kushner at an address in Manhattan that had been listed as one of Kushner’s addresses in

publicly available sources. (Sellers Decl. ¶ 11, ECF No. 141-1.) The process server attempted

service on that address four times, on June 11, June 18, June 25, and July 16, 2018. (ECF No.

141-1, Exhibit C.) The first three times, staff at that address informed the process server that


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Kushner was rarely at that address; on the fourth occasion, building staff informed the process

server that Kushner no longer lives there. (Exhibit C.)

        Following these unsuccessful attempts, the process server attempted service at a

Washington, D.C. address that has been described in news sources as Kushner’s home. (ECF No.

141-2.) On June 26th, 2018, the process server went to the D.C. address and told the United

States Secret Service agent stationed outside the house that he was attempting to serve process

for a case pending before the U.S. District Court for the Southern District of New York. (Id.)

After speaking with a superior, the Secret Service officer told the process server: “you’re going

to need to find another way to serve that.” (Id.) Plaintiff then attempted to mail a service packet

to the DC address through USPS certified mail. (ECF 141-3.) This packet was mailed on July

2nd, 2018, but as of July 9, 2018, delivery of the package was deemed unsuccessful by the

USPS. (Id.) On July 17, 2018, Plaintiff filed a motion with this Court for leave to serve Kushner

by first class mail (the “Kushner Motion”). (ECF No. 141.) On July 18, 2018, the Court denied

the motion without prejudice, noting that Plaintiff had attached an affidavit describing efforts to

serve Manafort to the Kushner motion.9 (ECF No. 143) The court further directed that “the

DNC’s counsel can contact Kushner’s counsel and arrange a mutually convenient means to

effectuate service.” (Id.)

        Immediately after receiving the Court’s order, Plaintiff’s counsel renewed their efforts to

contact Mr. Lowell, who was reported to represent Kushner in another matter. (Sellers Decl.

¶ 11.) By email dated July 18, 2018, Mr. Lowell agreed to accept service on behalf of Kushner.

(Id.) That night, Plaintiff sent a courier Mr. Lowell’s office to deliver Kushner’s service packet.



9
 Plaintiff apologizes for attaching the wrong affidavit as Exhibit D to the Kushner motion. The
affidavit that should have been attached to the Kushner motion is attached hereto as Exhibit C.

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(Id.) Plaintiff’s counsel also emailed a copy of the service packet to Mr. Lowell. (Id.) On July 19,

2018, Mr. Lowell entered an appearance on behalf of Kushner. (ECF No. 145.)

II.    The Foreign Defendants

       While the Federal Rules of Civil Procedure do not impose a specific deadline for serving

foreign defendants, see Fed. R. Civ. P. 4(m), Plaintiff must act with “reasonable diligence” to

ensure those defendants are served in a timely manner, Fallman v. Hotel Insider, Ltd., No.

14CV10140 (DLC), 2016 WL 5875031, at *4 (S.D.N.Y. Oct. 7, 2016), reconsideration denied,

No. 14CV10140 (DLC), 2016 WL 6238610 (S.D.N.Y. Oct. 25, 2016) (internal quotation marks

omitted). Plaintiff’s efforts to serve the foreign defendants in this action are summarized below.


       A.      Russia, the GRU, and GRU Operative #1

       On May 18, 2018, Plaintiff filed a motion requesting leave to serve three defendants—the

Russian Federation, the GRU, and the intelligence officer known as “Guccifer 2.0”—via

diplomatic means under 28 U.S.C. § 1608, the service of process provision of the Foreign

Sovereign Immunities Act. (ECF No. 64). On May 23, 2018, the Court granted Plaintiff’s

motion, (ECF No. 75), and Plaintiff immediately began the process of submitting the required

documents to the Court for transmission to the Secretary of State in Washington, D.C. (Horwitz

Decl. ¶ 7.) On July 10, 2018, the State Department notified Plaintiff that the service request was

received and was being processed. (Id.)


       B.      Aras Agalarov

       As noted above, on April 30, 2018, Plaintiff’s counsel called Scott Balber, who

confirmed that he represents both Aras Agalarov and his son in other matters. (Sellers Decl. ¶ 5.)

Mr. Balber said that he was not authorized to accept service on behalf of Aras Agalarov, and



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when Plaintiff’s counsel asked if Mr. Balber could identify anyone else who might be authorized

to accept service for Aras Agalarov or his son, Mr. Balber directed Plaintiff’s counsel to consult

“the Federal Rules.” (Id.)

           Without Mr. Balber’s guidance, Plaintiff consulted Florida real estate reports, which

suggested that Aras Agalarov purchased a luxury condominium in Florida. Plaintiff therefore

mailed Aras Agalarov a service waiver at the Florida address on May 2, 2018. (Horwitz Decl. ¶

8.) When Plaintiff did not receive a response to the waiver by the deadline, Plaintiff hired a

process server to attempt personal service at the Florida address. (Id.) On June 15, 2018, the

process server knocked on the door of the condominium and received no answer. (Exhibit D.)

He then spoke to a security guard who informed him that the Agalarov family has only been

present at that residence twice in the last two years. (Id.) The process server has provided a

notarized “affidavit of due diligence,” explaining his attempt to serve Aras Agalarov. (Id.) The

only other addresses Plaintiff has been able to identify for Aras Agalarov are the mailing address

and email address of his Moscow-based real estate development firm, Crocus Group, of which

Aras Agalarov is the president.10 Plaintiff therefore believes that Aras Agalarov should be treated

as a resident of Moscow for purposes of service of process. Plaintiff intends to file a motion for

leave to serve Aras Agalarov, pursuant to Rule 4(f).

III.       WikiLeaks

           WikiLeaks is an internet-based organization whose main activity is the maintenance of its

website, Wikileaks.org. On its website, WikiLeaks maintains a page devoted to

“WikiLeaks:Legal.”11 On that page, WikiLeaks advises, “Send all USA legal correspondence to

our lawyers,” and provides the email address wl-legal@sunshinepress.org. See supra note 11.


10
     Our Leaders, Crocus Group, http://www.crocusgroup.com/crocus/management/ (last visited July 19, 2018)
11
     WikiLeaks:Legal, WikiLeaks, https://wikileaks.org/wiki/WikiLeaks:Legal (last visited July 19, 2018).

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The website further advises, “you will then be provided with a postal address and contact

details.” (Id.) There is also a disclaimer on the WikiLeaks:Legal page that states, “We do not

accept electronic servicing of legal documents.” (Id.)

       On April 25, 2018, Plaintiff’s counsel attempted to send an email to

wl-legal@sunshinepress.org, asking for the postal address and contact details where legal

documents could be sent. (Horwitz Decl. ¶ 9.) Later that day, counsel received a notification that

the outgoing email had been rejected six times over the course of an hour. (Id.) On April 29,

2018, Plaintiff’s counsel received another notification that the email had been rejected 30 times

over the course of 92 hours. (Id.) On July 10, 2018, Plaintiff’s counsel made another attempt to

send an email to that same address. (Id.) An hour later, counsel received another notification that

the email had not been delivered, despite six attempts to deliver over a period of one hour. (Id.)

On July 14, 2018, Plaintiff received another notification that the email had been rejected 30

times over the course of 92 hours. (Id.)

       Plaintiff’s counsel also made diligent attempts to contact counsel who represented

WikiLeaks in other matters. (Horwitz Decl. ¶ 10.) Plaintiff searched PACER for any case in

which WikiLeaks was represented by counsel, and found only one: a suit in the U.S. District

Court for the District of Maryland in which WikiLeaks, the Plaintiff, was represented by two

attorneys from Zuckerman Spaeder LLP. (Id.) On July 19, 2018, Plaintiff emailed those

attorneys to ask if they were authorized to accept service on WikiLeaks’s behalf, or if they knew

of any other person who might be able to accept service. (Id.) The attorneys quickly replied: “We

are not authorized and have had no contact with this entity for several years. (Id.) I do not have

any idea about who may be authorized to accept service for Wikileaks.” (Id.)




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        A Westlaw search unearthed another case where an attorney briefly represented

WikiLeaks, see Bank Julius Baer & Co. v. WikiLeaks, No. C 08-00824 JSW, 2008 WL 413737

(N.D. Cal. Feb. 13, 2008), but that attorney later submitted a letter to the United States District

Court for the Northern District of California explaining that she had not been WikiLeaks’

attorney since January 24, 2008, and she “could not and would not” accept service on

WikiLeaks’ behalf.12 Additionally, Plaintiff’s counsel searched news reports and Wikipedia, and

identified three individuals who may have represented WikiLeaks: one is deceased, one lives in

Spain and does not have contact information (that Plaintiff can find) online, and the third lives in

London and has not been linked by reliable sources to WikiLeaks. (Horwitz Decl. ¶ 11.)

Plaintiff’s counsel therefore believes it would not be feasible to serve WikiLeaks through

counsel. Plaintiff intends to file a motion for leave to serve WikiLeaks by alternative means

shortly. (Id.)

IV.     Assange

        Defendant Julian Assange is an Australian native who has been living for the past six

years in the Ecuadoran embassy in London, U.K.13 On April 30, 2018, Plaintiff contacted Barry

Pollack, Assange’s criminal defense attorney. (Sellers Decl. ¶ 6.) Mr. Pollack confirmed that he

represents Assange in the criminal matter under investigation by the Office of Special Counsel.

(Id.) Plaintiff asked Mr. Pollack if he could accept service for Assange. (Id.) Mr. Pollack

responded that he was not authorized to accept service in a civil matter for Assange, and that he

could not identify anyone else in the United States who is authorized to accept service. (Id.)



12
   Letter from Julie S. Turner at 2, Bank Julius Baer & Co. v. WikiLeaks (No. C 08--00824), 2008 WL 413737, ECF
     No. 26.
13
   Annys Shin, When WikiLeaks founder Julian Assange took refuge in the Embassy of Ecuador, Wash. Post (June
14, 2018), https://www.washingtonpost.com/lifestyle/magazine/when-wikileaks-founder-julian-assange-took-
refuge-in-the-embassy-of-ecuador/2018/06/11/263e560e-578c-11e8-8836-
a4a123c359ab_story.html?utm_term=.625cd2b2211e.

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        In late April 2018, Plaintiff also contacted an international process server to inquire about

how best to serve Mr. Assange. (Horwitz Decl. ¶ 12.) The process server indicated that serving

Mr. Assange would present a unique set of challenges and that further investigation would be

necessary. (Id.) In May 2018, while Plaintiff continued to evaluate the appropriate means to

effect service on Assange, credible news reports began to circulate that Assange might be

evicted from the Ecuadoran embassy and extradited to the United States.14 (Id.) In light of these

reports, Plaintiff refrained from attempting service on Assange in London while there was still

the possibility that he would be brought to the United States, where he could be served

domestically. (Id.) However, when there were no new reports about the possibility of Assange’s

eviction from the Ecuadoran embassy or extradition to the United States by early July, Plaintiff

concluded that Assange was likely to remain at the embassy for the near future, and should be

served there. (Id.) Plaintiff then commenced the process to attempt service of Assange in the

Ecuadoran embassy. (Id.) That attempt to effectuate service is currently underway. (Id.) If the

attempt is unsuccessful, Plaintiff will move for leave to serve Assange through Mr. Pollack.



V.      Joseph Mifsud

        According to many reputable news sources, Mifsud has been missing for at least eight

months, and may be deceased (since October 31, 2017).15 (Horwitz Decl. ¶ 13.) Prosecutors in


14
   Dan Collyns, Why does Ecuador want Assange out of its London embassy?, The Guardian (May 15, 2018 12:00
EDT), https://www.theguardian.com/world/2018/may/15/ecuador-julian-assange-why-does-it-want-him-out-london-
embassy; Shin,supra note 12.
15
   See, e.g., Brennan Weiss, A mysterious professor who told the Trump campaign about ‘dirt’ on Hillary Clinton
has gone off the grid, Business Insider (Mar. 2, 2018, 6:47 PM), http://www.businessinsider.com/where-is-joseph-
mifsud-professor-in-russia-probe-2018-3; Nick Cohen, Why has Britain given such a warm welcome to this shadowy
professor?, The Guardian (Jan. 20, 2018, 1:05 PM EST),
https://www.theguardian.com/commentisfree/2018/jan/20/why-has-britain-given-such-a-warm-welcome-to-this-
shadowy-professor; James Risen, The Absent Professor, The Intercept (Apr. 12, 2018, 11:15 AM),
https://theintercept.com/2018/04/12/trump-russia-intermediary-joseph-mifsud-missing-case-for-collusion; Tim
Lister & Nic Robertson, Academic at heart of Clinton ‘dirt’ claim vanishes, leaving trail of questions, CNN (Nov.

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Italy have attempted to locate him for service in a different case but were unsuccessful, and

deemed him unable to be found.16 Plaintiff has been unable to locate any known current

addresses or contact information for him, despite working with a private investigator. (Id.)

Plaintiff is continuing to monitor new sources for any indicia of Mifsud’s whereabouts. (Id.) If

and when Plaintiff sees such indicia, it will file a motion to serve Mr. Mifsud by appropriate

means. (Id.)




10, 2017, 10:40 AM EST), https://www.cnn.com/2017/11/08/politics/joseph-mifsud-trump-russia-
investigation/index.html;
16
   “Ingiustificato compenso e danno erariale”, citati a giudizio ex presidenti del Cupa, AgrigentoNotizie (Feb. 10,
2018 9:59), http://www.agrigentonotizie.it/cronaca/danno-erariale-ingiustificato-compenso-citati-a-giudizio-corte-
dei-conti.html

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                                           Respectfully submitted,
Dated: July 19, 2018


                                           /s/ Joseph M. Sellers__________________
                                           Joseph M. Sellers (admitted Pro Hac Vice)
                                           Geoffrey A. Graber (admitted Pro Hac Vice)
                                           Julia A. Horwitz (admitted Pro Hac Vice)
                                           Alison S. Deich (Pro Hac Vice pending)
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                                           Attorneys for Plaintiff




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                                  CERTIFICATE OF SERVICE


         I hereby certify that on July 19, 2018, I electronically filed the foregoing with the Clerk

of the Court using the ECF, who in turn sent notice to all counsel of record.



Dated:       July 19, 2018                             /s/ Julia A. Horwitz
                                                       Julia A. Horwitz




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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


DEMOCRATIC NATIONAL COMMITTEE,                      )
                                                    )
               Plaintiff,                           ) Civil Action No. 1:18-cv-03501-JGK
                                                    )
v.                                                  )
                                                    )
THE RUSSIAN FEDERATION et al.,                      )
                                                    )
               Defendants.                          )
                                                    )
                                                    )



                            DECLARATION OF JOSEPH M. SELLERS:

I, Joseph M. Sellers, declare as follows:

1.     I am a partner at Cohen Milstein Sellers & Toll, PLLC. I am counsel for Plaintiff in the

above-referenced matter. I submit this declaration in connection with Plaintiff’s Status Report

Regarding Service of Process. I have personal knowledge of all facts stated in this declaration, and

if called to testify, I could and would testify competently thereto.

2.     Immediately after filing the complaint in this action, Plaintiff began efforts to serve each

of the 15 Defendants named in this action.

3.     Within 10 days of filing the Complaint, Plaintiff’s counsel called attorneys who reportedly

represented the Non-Waiving Defendants in other matters.

4.     On April 30, 2018, Geoffrey Graber and I left voicemail messages with Thomas Green,

who reportedly represented Gates, Abbe Lowell, who represented Kushner, and Kevin Downing,

who reportedly represented Manafort, but those messages were not returned.

5.     That same day, Mr. Graber and I called Scott Balber, who confirmed that he represents

both Emin Agalarov and his father in other matters. Mr. Balber said that he was not authorized to
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accept service on behalf of the Agalarovs. When Mr. Graber and I asked if Mr. Balber could

identify anyone else who might be authorized to accept service for the Agalarovs, Mr. Balber

instructed Plaintiff’s counsel to consult “the Federal Rules.”

6.     Also on April 30, 2018, Mr. Graber and I contacted Barry Pollack, Assange’s criminal

defense attorney. Mr. Pollack confirmed that he represents Assange in the criminal matter under

investigation by the Office of the Special Counsel. Mr. Graber and I asked Mr. Pollack if he could

accept service for Mr. Assange. Mr. Pollack responded that he was not authorized to accept service

in a civil matter for Mr. Assange, and that he could not identify anyone else in the United States

who is authorized to accept service.

7.     On June 13, 2018, Plaintiff attempted to serve Emin Agalarov at an address on Anderson

Avenue in New Jersey, which had been described as Emin Agalarov’s home in news stories.

8.     On June 29, 2018, Mr. Balber, Emin Agalarov’s attorney, contacted me by phone to say

that Emin Agalarov contests the sufficiency of service at the New Jersey address. According to

Mr. Balber, Emin Agalarov’s sister—rather than Emin Agalarov himself—lives in the New Jersey

house and Ms. Madzule is his sister’s housekeeper. Mr. Balber further claimed that Ms. Madzule

does not speak English and therefore did not qualify as a person of “suitable age and discretion,”

capable of accepting service under Federal Rule of Civil Procedure 4(e)(2)(B). Mr. Balber

acknowledged that Mr. Agalarov was aware of the complaint naming him as a defendant.

9.     On July 10, 2018, Plaintiff sent Mr. Balber a letter explaining that service under the Federal

Rules was effectuated on June 13, 2018, when the process server delivered the package to Ms.

Madzule. Mr. Balber responded to this letter by emailed letter the next day, confirming that he

represents Mr. Agalarov in connection with this case, but disagreeing with Plaintiff’s analysis and




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stating, among other things, that Emin Agalarov could not be served in New Jersey because he is

a resident of Moscow.

10.    As to Mr. Kushner, because his home in Washington, D.C. is protected by a contingent of

United States Secret Service agents, Plaintiff’s counsel first requested that the process server

attempt to serve Kushner at an address in Manhattan that had been listed as one of Kushner’s

addresses in publicly available sources.

11.    Immediately after receiving the Court’s July 17, 2018 Order regarding Mr. Kushner,

Plaintiff’s counsel renewed their efforts to contact Mr. Lowell, who was reported to represent

Kushner in another matter. By email dated July 18, 2018, Mr. Lowell agreed to accept service on

behalf of Kushner. That night, Plaintiff’s counsel sent a courier to Mr. Lowell’s office to deliver

Kushner’s service packet. Plaintiff’s counsel also emailed a copy of the service packet to Mr.

Lowell.



I declare under penalty of perjury that the foregoing is true and correct.

Executed this 19th day of July 2018 in Washington, D.C.




                                                      ____________________
                                                      Joseph M. Sellers




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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


DEMOCRATIC NATIONAL COMMITTEE,                      )
                                                    )
               Plaintiff,                           ) Civil Action No. 1:18-cv-03501-JGK
                                                    )
v.                                                  )
                                                    )
THE RUSSIAN FEDERATION et al.,                      )
                                                    )
               Defendants.                          )
                                                    )
                                                    )



                            DECLARATION OF JULIA A. HORWITZ

I, Julia Horwitz, declare as follows:

1.     I am an attorney at Cohen Milstein Sellers & Toll, PLLC. I am counsel for Plaintiff in the

above-referenced matter. I submit this declaration in connection with Plaintiff’s Status Report

Regarding Service of Process (“Status Report”). I have personal knowledge of all facts stated in

this declaration, and if called to testify, I could and would testify competently thereto.

2.     On May 2, 2018, Plaintiff’s counsel mailed service waivers to addresses that had been

publicly linked to the Non-Waiving Defendants1, pursuant to Federal Rule of Civil Procedure 4(d).

Plaintiff’s counsel informed these Defendants that they had thirty days to return the waivers. When

the Non-Waiving Defendants missed the deadline to return their forms, Plaintiff’s counsel began

efforts to serve them.




       1
        “Non-Waiving Defendants” refers to Defendants Richard W. Gates, III (“Gates”), Paul
J. Manafort, Jr. (“Manafort”), Jared C. Kushner (“Kushner”), and Emin Araz Agalarov (“Emin
Agalarov”).
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3.     With respect to Manafort, on July 17, 2018, Plaintiff’s counsel emailed a summons, the

Complaint, Electronic Case Filing Rules & Instructions, and the Individual Practices of Judge John

G. Koeltl (the “service packet”) to the attorneys of record listed on the docket sheet in Manafort’s

criminal case.

4.     On July 18, 2018, Plaintiff’s counsel mailed the service packet to those same attorneys at

the address listed on the docket sheet, and on July 19, 2018, Plaintiff’s counsel mailed the service

packet to Manafort at the Alexandria Detention Center.

5.     Regarding Emin Agalarov, on July 19, 2018, Plaintiff’s counsel personally spoke with the

process server who handed a service packet to Ms. Inga Madzule at the Anderson Avenue address.

The process server confirmed for Plaintiff’s counsel the account he provided in his affidavit. He

provided additional detail confirming his account of service, including the facts that: (a) he twice

said Emin Agalarov’s full name, so he is confident that Ms. Madzule did not think the package

was intended for his sister; and (b) he is confident that Ms. Madzule spoke English because she

answered his open-ended questions in full sentences such as: “He’s traveling,” “He’s in Russia

right now,” and “I don’t know when he’s coming back.”

6.     As a courtesy to Emin Agalarov, Plaintiff’s counsel transmitted copies of the service packet

to Scott Balber, Esq., an attorney for Emin Agalarov, by email. Plaintiff’s counsel also mailed a

copy of the service packet to Mr. Balber via first class mail, postage prepaid, on July 19, 2018.

7.     Regarding Defendants The Russian Federation (“Russia”); the General Staff of the Armed

Forces of the Russian Federation (“GRU”); the GRU operative using the pseudonym “Guccifer

2.0” (“GRU Operative #1”), on May 23, 2018, Plaintiff’s counsel began the process of submitting

the required documents to the Court for transmission to the Secretary of State in Washington, D.C.,




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immediately after reading the Court’s Order (ECF No. 75). On July 10, 2018, the State Department

notified Plaintiff that the service request was received and was being processed.

8.     Regarding Defendant Aras Iskenerovich Agalarov (“Aras Agalarov”), Plaintiff’s counsel

consulted Florida real estate reports, which suggested that Aras Agalarov purchased a luxury

condominium in Florida. Plaintiff’s counsel therefore mailed Aras Agalarov a service waiver at

the Florida address on May 2, 2018. When Plaintiff’s counsel did not receive a response to the

waiver by the deadline, Plaintiff’s counsel hired a process server to attempt personal service at the

Florida address.

9.     Regarding Defendant WikiLeaks, on April 25, 2018, per the instructions provided on

WikiLeaks’      website,    Plaintiff’s   counsel     attempted     to    send      an   email    to

wl-legal@sunshinepress.org, asking for the postal address and contact details where legal

documents could be sent. Later that day, counsel received a notification that the outgoing email

had been rejected six times over the course of an hour. On April 29, 2018, Plaintiff’s counsel

received another notification that the email had been rejected 30 times over the course of 92 hours.

On July 10, 2018, Plaintiff’s counsel made another attempt to send an email to that same address.

An hour later, counsel received another notification that the email had not been delivered, despite

six attempts to deliver over a period of one hour. On July 14, 2018, Plaintiff’s counsel received

another notification that the email had been rejected 30 times over the course of 92 hours.

10.    Plaintiff’s counsel also made diligent attempts to contact counsel who represented

WikiLeaks in other matters. Plaintiff’s counsel searched PACER and Westlaw for any case in

which WikiLeaks was represented by counsel, and found only one case: a suit in the U.S. District

Court for the District of Maryland. In that case, WikiLeaks, one of the plaintiffs, was represented

by two attorneys from Zuckerman Spaeder LLP. On July 19, 2018, Plaintiff’s counsel emailed




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those attorneys to ask if they were authorized to accept service on WikiLeaks’s behalf, or if they

knew of any other person who might be able to accept service. One of the two attorneys replied

within 10 minutes, stating: “We are not authorized and have had no contact with this entity for

several years. I do not have any idea about who may be authorized to accept service for Wikileaks.”

11.    Additionally, Plaintiff’s counsel searched news reports and Wikipedia, and identified three

individuals who may have represented WikiLeaks. Of these, one is deceased, one lives in Spain

and does not have contact information that Plaintiff’s counsel can locate, and the third lives in

London and appears to represent Defendant Julian Assange (“Assange”), but is not clearly linked

by reliable sources to WikiLeaks. Plaintiff intends to file a motion for leave to serve WikiLeaks

by alternative means shortly.

12.    Regarding Defendant Assange, in late April 2018, Plaintiff’s counsel contacted an

international process server to inquire about how to serve Assange, given that he currently resides

in an Ecuadoran embassy in London, U.K. The process server indicated that serving Assange

would present a unique set of challenges and that further investigation would be necessary. In

May 2018, while Plaintiff’s counsel continued to evaluate the appropriate means to effect service

on Assange, credible news reports began to circulate that Assange might be evicted from the

Ecuadoran embassy and extradited to the United States. In light of these reports, Plaintiff’s counsel

refrained from attempting service on Assange in London while there was still the possibility that

he would be brought to the United States, where he could be served domestically. However, when

there were no new reports about the possibility of Assange’s eviction from the Ecuadoran embassy

or extradition to the United States by early July, Plaintiff’s counsel concluded that Mr. Assange

was likely to remain at the embassy for the near future, and should be served there. Plaintiff’s




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counsel then commenced attempting service of process on Assange in the Ecuadoran embassy.

That attempt to effectuate service is currently underway.

13.    Regarding Defendant Joseph Mifsud (“Mifsud”), Plaintiff’s counsel has been unable to

locate any known current addresses or contact information for him, despite working with a private

investigator. Plaintiff’s counsel is continuing to monitor news sources for any indicia of Mifsud’s

whereabouts. If and when Plaintiff’s counsel sees such indicia, it will file a motion to serve Mifsud

by appropriate means.



I declare under penalty of perjury that the foregoing is true and correct.

Executed this 19th day of July 2018 in Washington, D.C.




                                                      _____________________
                                                      Julia Horwitz




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                  Exhibit C
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                  Exhibit D
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